              Case 2:19-cv-00450-MHH Document 1 Filed 03/15/19 Page 1 of 8                                                                                          FILED
                                                                                                                                                     2019 Mar-15 AM 11:51
                                                                                                                                                     U.S. DISTRICT COURT
                                                                                                                                                         N.D. OF ALABAMA
Pro Se General Complaint for a Civil Case <Rev JO/J6}




                                               United States District Court
                                                      for t h e \L'u ', ~,~:                                                            ., ,,-.. 0 1
                                                                                                                '" •n
                                                                                                                nhf\    I5          A       ~u~


                                          NORTHERN DISTRICT OF ALABAMA,                                                        ·•   ~    -. -··. l   : :·, .....-

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                                                                                      }
Plaintiff                                                                             }
(Write your f11/l 11a111e. No 111ore than one plai111ijJ111ay be named in a prose     }
complailll)                                                                           }
            (.).... ,c.) "'-4 L    I      ~ )                                         }

v.
                                                                                      }
                                                                                          Case No.~:\~       ~t\J.- L\SO-\{\\r~
          p"41,.s w\ CJ ee,.r,::)~                                                    }
                                                                                      }          (to be filled in by the Clerk's Office)
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         c;j ~. ~'-", ~J~ ~       j/1'\                                               }   JURY TRIAL ~ Yes                   D           No
                                                                                      }
          ~llt ..lJ ~                     Serv. 4..,     (oy.f'"'7                    }

         Hi.rt "-{ c           'v      /-<.,
                                                                                      }
                                                                                      }
Defendant(s)                                                                          }
(Write the fall 11a111e of each defenda/1/ who is being sued. If the 11a111es ofall   }
defendants ca1111ot fit in the space above or 011 page 2, please write "see           }
attached" in the space and attach an additional page with the full list of            }
names)                                                                                }




                                                     COMPLAINT FOR A CIVIL CASE

I.          The Parties to This Complaint

            A.          The Plaintiff
                        Name
                        Street Address
                        City and County
                        State and Zip Code
                        Telephone Number

            B.          The Defendant(s)

                        Provide the information below for each defendant named in the complaint,
                        whether the defendant is an individual, a government agency, an organization or a
                        corporation. If you are suing an individual in his/her official capacity, include the
                        person's job or title. Attach additional pages if needed.


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          Defendant No. 1
                Name
                     Job or Title
                     Street Address
                     City and County
                     State and Zip Code




          Defendant No. 2
                Name
                                                          1iv1.. f ~-}o-~ >erv.~        Co·~y,.,       Cf..(bli..S~
                     Job or Title
                     Street Address                      'i ~ 1 S f r-e VV1 ,el' i)r;
                                                                                                   7
                     City and County
                     State and Zip Code




          Defendant No. 3
                Name
                     Job or Title
                     Street Address
                     City and County
                     State and Zip Code                                        ti 75~




          Defendant No. 4
                Name
                     Job or Title
                     Street Address
                     City and County
                     State and Zip Code




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          Defendant No. 5
                Name
                     Job or Title
                     Street Address
                     City and County
                     State and Zip Code

II.       Basis for Jurisdiction

          Federal courts are courts of limited jurisdiction (limited power). Generally, only these
          types of cases can be heard in federal court: a dispute that involves a right in the United
          States Constitution or a federal law (as opposed to a state law or local ordinance); a
          dispute that involves the United States of America (or any of its agencies, officers or
          employees in their official capacities) as a party; and a dispute between citizens of
          different states with an amount in controversy that is more than $75,000.

          What is the basis for federal court jurisdiction? (check all that apply)

          J    Constitutional or Federal Question O USA Defendant O Diversity of citizenship

          Fill out the paragraphs in this section that apply to this case.

          A.         If the Basis for Jurisdiction is USA defendant

                     The Defendant(s)



                     Address      ~~~~~~~~~~~~~~~~~~~~~~~~~~~




      ~              If the Basis for Jurisdiction is a Constitutional or Federal Question

                     List the specific federal statutes, federal treaties, and/or provisions of the United
                     States Constitution that are at issue in this case.




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          C.         If the Basis for Jurisdiction is Diversity of Citizenship

                     I. The Plaintiff
                          The plaintiff, (name} _ _ _ _ _ _ _ _ _ _ __                      is a citizen of the
                          State of (name) _ _ _ _ _ _ _ _ _ _ _ _ _ __

                     2. The Defendant(s)
                          a. If the defendant is an individual
                                The defendant, (name} _ _ _ _ _ _ _ _ _ __                  1s a citizen of the
                                State of (name} _ _ _ _ _ _ _ _ _ _ _ __                    Or is a citizen of
                                (foreign n a t i o n ) - - - - - - - - - - - - -

                          b. If the defendant is a corporation

                                The defendant, (name)           ~ ~~                    , is incorporated under
                                the laws of the State of (name} ___________, and has its
                                principal place of business in the State of (name} _ _ _ _ _ _ _ __

                                Or       is     incorporated   under   the     laws   of     (foreign          nation)
                                _ _ _ _ _ _ _ _ _ _ _ _ _ _:, and has its principal place of

                                business in ( n a m e ) - - - - - - - - - - - -

                          (If more than one defendant is named in the complaint, attach an additional
                          page providing the same information for each additional defendant.)

                     3.         The Amount in Controversy

                                The amount in controversy - the amount the plaintiff claims the defendant
                                owes or the amount that is at state - is more than $75,000, not counting
                                interest and costs of court, because: (explain)

                                     A- fv"~.,._J.l~t-°        ~£.     W'"')    1.~S..,u{   t-   \i-e. .,,...'".I




III.      Statement of Claim


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          Write a short and plain statement of the claim. Briefly state the facts showing that the
          plaintiff is entitled to the damages or other relief sought. State how each defendant was
          involved and what each defendant did that caused the plaintiff harm or violated the
          plaintiffs rights, including the dates and places of that involvement or conduct. If more
          than one claim is asserted, number each claim and write a short and plain statement of
          each claim in a separate paragraph. Attach additional pages if needed.
                                                        ~~~t~




IV.       Relief

          State briefly and precisely what damages or other relief the plaintiff asks for the court to
          order. Include any basis for claiming that the wrongs alleged are continuing at the present
          time. Include the amounts of any actual damages claimed for the acts alleged and the
          basis for these amounts. Include any punitive (punishment) or exemplary (warning or
          deterrent) damages claimed, the amounts, and the reasons you claim you are entitled to
          actual or punitive money damages.




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V.        Certification and Closing

          Under Rule 11 of the Federal Rules of Civil Procedure, by signing below, I certify to the
          best of my knowledge, information, and belief that this complaint; (1) is not being
          presented for an improper purpose, such as to harass, cause unnecessary delay, or
          needlessly increase the cost of litigation; (2) is supported by existing law or by a non-
          frivolous argument for extending, modifying or reversing existing law; (3) the factual
          contentions have evidentiary support or, if specifically so identified, will likely have
          evidentiary support after a reasonable opportunity for further investigation or discovery;
          and (4) complies with the requirements of Rule 11.


I agree to provide the Clerk's Office with any changes to my address where case-related papers
may be served. I understand that my failure to keep a current address on file with the Clerk's
Office may result ih dismissal of my case.

First Name     fl..~.A                 Last Name __f!,_""'_'_~-----------
Mailing Address J d'""d" 1(1"h T~ c..t- W i f
City and State     l>, ,- _, ") ~ ) ~14c.~             Zip Code 35 ~ '1
Telephone Number                  at>S     -    '-t-13 -! 'bj,"ti
E-mail Address                h'1f:orot,bwl'-,5 e_ 14,h.:,or                 C....--



Signature of plaintiff            ~                     --/.,   ~
Date signed                     f\Wt.."' LS J h                 l   S

**OPTIONAL**

You may request to receive electronic notifications. You may not file documents or
communicate with the court electronically. All documents must be submitted i n ~ and you
must serve the defendants.

Type of personal computer and related software/equipment required:

     •    Personal computer running a standard platform such as Windows or Mac OSX
     •    Internet access (high speed is recommended)
     •    A Web browser (Microsoft Internet Explorer 7.0 or 6.0 or Mozilla Firefox 2 or 1.5)
     •    Adobe Acrobat Reader is needed for viewing e-filed documents
     •    PACER account- Information and registration at www.pacer.gov

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     • You will receive one "free" look of the document. Documents must be viewed within 14
       days. You must only single-click on the hyperlink to view.
Note: You must promptly notice the Clerk's Office, in writing, if there is a change in your
designated e-mail address. Failure to update your email address does not excuse failures to
appear or timely respond.
E-mail type:      ,
             ~HTML - Recommended for most e-mail clients
             D Plain Text - Recommended for e-mail accounts unable to process HTML e-mail

Conditioned upon the sufficiency of your electronic equipment which the court will test and
verify receipt, you will be allowed to receive electronic notifications.

By submitting this request , the undersigned consents to electronic service and waives the right to
personal service and service by first class mail pursuant to Rule 5(b)(2) of the Federal Rules of
Civil Procedure, except with regard to service of a summons and complaint.

When a filing is entered on the case docket, a party who is registered for electronic noticing will
receive a Notice of Electronic Filing in his/her designated e-mail account. The Notice will allow
one free look at the document, and any attached .pdf may be printed or saved.

IMPORTANT:

Messages sent to Yahoo or AOL accounts are frequently found in the spam folder until the court
is ~dded to your address book.


E-mail address designated for noticing:

         b uf-o-r-c:A b"'r"-,.s e ys k<JO                y   Co,,....

Participant signature:             ~ -f. , ~
Date:              MC("v(. l5' (, ~ l j




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               Buford lee Burks v. Publisher's Clearinghouse and Harland Corporation

                     United States Federal District Court of Northern Alabama

                                               Facts

I received a letter stating I won third place in Publisher's Clearinghouse Prize; a check of 6, 748
dollars was enclosed . I called as instructed to case manager, and the recording said the mail
box was full proceed . The letter was dated March , 2, 2019 . I deposited 4,000 into my
Regions' Bank savings' account and 2,7481 my Region's bank checking account at the Fairfield,
Alabama Branch . I was told there was a "hold," and 200 dollars was available . Knowing I had a
direct deposit of 189 coming from Kelly Education Services on March 15, 2019, I debited 51 at
Piggly Wiggly which was honored . There were no other transactions . March 14, 2019, I
received a letter from Regions' Bank saying the check was not honored , then they placed my
checking account at a negative 4,000 . I went to main branch downtown , and I was told they
would reverse this and place met a positive balance when my Kelly Education check posted
March 15, 2019, but they subtracted the deposit from the negative 4,000 which they said they
returned.

Mail fraud was committed by federal law, because when a person engages in some kind of
scheme or plan to defraud someone else of something of value with the intent to defraud it
constitutes mail fraud . Courts have held that mail fraud schemes must involve a scheme to
fraud someone -to get something for nothing. Federal law states material misrepresentation is
a statement that causes victims to do something they probably wouldn't have done if the
statement had never been made . mail fraud occurs whenever a person attempts to defraud
someone else by using the mail, meaning you don't actually have to succeed in defrauding
someone else to be found guilty . The letter came from North Carolina to Alabama which makes
it an interstate offense ; the Constitution states this is under jurisdiction of Commerce Clause of
the Constitution that grants the federal government jurisdiction over interstate matters . "There
are two elements in mail fraud: (1) having devised or intending to devise a scheme to defraud
(or to perform specified fraudulent acts), and (2) use of a scheme to defraud for the purpose of
executing, or attempting to execute, the scheme ( or specified fraudulent acts) . "Schumuck v.
United States, 489 U. 5. 705, 721 n. 10 {1989}; Pereira v. United States, 347 U. 5. 1.8 {1954},
and Laura A. Eilers & Harvey B. Si/ikovitz, Mail and Wire Fraud, 3 1 Am. Cri. L . Rev. 703,
704(1994).

G. E. Schmidt Inc. issued the check which was drawn for Huntington Service Company. Harland
Clarke   4*I Premier Dr. High Point, N. C. 27265
         l-f'-t15




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